







		NO. 12-08-00140-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: PILGRIM'S PRIDE

CORPORATION, §
	ORIGINAL PROCEEDING

RELATOR

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MEMORANDUM OPINION


	PER CURIAM


	Relator Pilgrim's Pride Corporation has filed a motion to dismiss this original proceeding.
In its motion, Pilgrim's Pride states that the parties have reached an agreement that arbitration should
be compelled and the judicial proceeding should be stayed.  Therefore, there is no further need to
pursue this original proceeding.  Because Pilgrim's Pride has met the requirements of Texas Rule
of Appellate Procedure 42.1(a)(1), the motion is granted, and the original proceeding is dismissed. 

Opinion delivered June 11, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.













(PUBLISH)


